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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:18-cv-05412

                                                        PROOF OF SERVICE
                       (This sectioll should ,wt be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)     FAST ADVANCE FUNDING, LLC
 was received by me on (date)                     06/22/2018

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)

          ----------------- , a person of suitable age and discretion who resides there,
           on (date)                               ' and mailed a copy to the individual's last known address; or

           ,ti I served the summons on (name ofindividual)           JOHN DOE, refused to give his name                        , who is

            designated by law to accept service of process on behalf of (name oforganization) FAST ADVANCE FUNDING, LLC
                                                                                 on (date)         06/22/2018        ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):




           My fees are$             25.00          for travel and$       25.00       for services, for a total of$          50.00


           I de:::::::� peMlzy of perjury that this info

                                                                  �
                                                                   ��
Date:


                                                                             KAMERON MARSHALL, Process Server
                                                                                         Printed name and title

                                                                                        199 W. Chew Ave,
                                                                                      Philadelphia, PA 19120

                                                                                             Server's address

Additional information regarding attempted service, etc:
20 N. 3RD ST, PHILADELPHIA, PA 19106
 Approximately 11 :15 AM. The door was closed but I walked in behind a UPS delivery man. I pretended to be a pizza
delivery guy since it was unlikely the defendants would open the door for a random person. I spoke with the manager,
 "Anthony" and I recognized him from before. I placed the pizza box on a desk, opened it, ate a slice of pizza inside,
and handed him the papers and told him that Fast Advance Funding had been served. The man became agitated and
insisted I had the wrong place but I knew he was lying due to previous experience at this office serving Fast Advance
Funding. The man refused to give his last name.
